Case: 1:17-md-02804-DAP Doc #: 2375-13 Filed: 08/14/19 1 of 4. PageID #: 389169




             PSJ3
           Exhibit 679
       Case: 1:17-md-02804-DAP Doc #: 2375-13 Filed: 08/14/19 2 of 4. PageID #: 389170




 I   Dean Vanelli                               . ..   ·t~~!!~!~~=!}n!n~y~~a~~1y 00. 20if=-- "--J
      July MTD (wk 30)
      Volume
                              r      Actual

                                    '.263,000~939
                                                            'FCST

                                                        265, 149~218
                                                                        Vartance

                                                                         (2,148,279)
                                                                                          % V~ffFCST

                                                                                               -0,81%
                                                                                                               LY
                                                                                                           262~24~t424
                                                                                                                             Vuriance

                                                                                                                                  752,.5 J 5
                                                                                                                                                  'Yo Var
                                                                                                                                                    LY

                                                                                                                                                      0.29~%
      Payroll                          19,726~666        19,735)271          (8~605)           -0,04%       20))12,776          (286) 10)          -l.43q,{)
      CPP                                0.0750               0.0744         0.0006             0.7TVi,          ().,0763        (0.0013)          .. 1.7 l\_!"o
      Hours                             892,762              8S\957           8)W5              l 0()1%         915,89]          (:Btl29)          -2.53tYi1
      Through Put                           295                  300               (5)         -L79°A1              286                    R
                                                                                                                                           I.,.      2,89(h)


      Year to Date (Jan -
      July)
      Volume                      2) I 20)64/!81       2, 14JJi27>057   (23) 62,776)           -1.09%     :U54}80A67        (34~5 l 6, J. 86)      -l,60%
      Payroll                       149~549~2.65          15t}67).1.5    (1,618,050)           -L07%        155? 128,663     (5,579,398)           -J,60·%
      CJ>p                               0.0705               0.0705          0.0000            0.02%             0,0720         (0,0015)          -2,03%>
      I fours                         7t092,680            7J69~983         (77~304)           -1,08%~        7,53t204          (438524)           -5,82%,
      Through Put                                                                  (0)                                                D             4...48%)




      .P&L / Forecast
                •      July 2013 P&L Results (controllable lines)
                            o Total P&L $732k Over Forecast
                            o Delivery $804k Over Forecast
                            o Warehouse Payroll $22k Over Forecast
                            o Warehouse Expense $-93k Under Forecast (exclusive of payroll)
                •      Jan - July 2013 P&L Results (controllable lines)
                            o Total P&L $-83k Under Budget
                            o Delivery $-2y78m Under Budget
                            o Warehouse Payroll $-330k Under Budget
                            o Warehouse Expense $3,02m Over Budget (exclusive of payroll)

     Logistics Owns Sales Scorecard (July Preliminary against Forecast)
        • 2        CPP (0.0750 vs. 0.0744)
        • 2        Throughput (295 vs,300)
        • 3        Cube Per Route (2289 vs. 2280)
        • 4        On Time Delivery (99.25% vs. 98.50%))
         •      4         Assumed Receipts Gross Pick Accuracy (97.75% vs. 97.50~/~)
         •      4         Front Store Service Level (99.70% vs, 99.50%1)
         •      1         FS DOS (1143 DOS VS, 108,5 DOS)
         •      4         Rx DOS (60.9 DOS vs. 6.L6 DOS)
         •      3         Sales (TBD)
         •      2.88      July projected; assumes FS DOS score of l
         •      3.28      YTD projection

     Blue Chip Audits
        • All DCs have completed their initial Blue Chip Audit for 20 l 3; audits to be completed twice a year
        • Meetings set with each DC (many are already complete) to review· audit observations, identify opportunities and
            develop corrective action plans
        • Recap of Blue Chip results to be shared with Logistics Leadership by Mid . . August




CONFIDENTIAL                                                                                                         CVS-.MDL T1-000100362
                                                                                     t     PLAINTIFF'S
                                                                                     I       EXHIBIT
                                                                                                                              CVS-MDL T1-000100362
                                                                                     I No. //3
                                                                                     A,
   Case: 1:17-md-02804-DAP Doc #: 2375-13 Filed: 08/14/19 3 of 4. PageID #: 389171



     •   Gathered valuable feedback on audit to fine tune contents and identify process variation across the network

  SOP Standardization
     •   Re-designing Logistics Intranet website to include enhanced Policy and Procedure page
     •   Cleaned up existing web page to separate SOP's from reference materials; SOPs and reference materials will have
         their own web page
     •   Reviewed with Logistics Leadership during Q2 Business Review· Meeting
     •   Partnering with various network experts and internal resources lo review and update SOP c..ontent
     •   Will set meeting with Logistics Leadership to review final web site design, content and to seek additional
         resources to comp lete comprehensive review of critical SOPs

  Enhanced Pharmacy Cold Chain
     • New SOPS, processes and supplies used to ship cold chain pharmacy items have been rolled out to all pharmacy
        distribution centers
     • Revised trailer temperature settings based on enhanced cold chain shipment protocol
     • Forccasted incremental supply spend in July forecast

  Store of the Future (Path Stores)
      • New item receipt/slotting in Lumberton is 94% complete: awaiting remaining items
      • New item receipt/slotting in La Habra is 93% complete; awaiting remaining items
      • New item receipt/slotting in Patterson is 88%) complete; DC 1s on plan
      • New store in Tulsa, OK is serviced by 3 DCs (NJ-SOF unique hems, LA . . healthy skin items and EN-normal
          servicing DC)
              o Damages experienced with heat sensitive items from NJ resulted in moving those 3 5 items into Ennis
              o DCs supported several unplanned shipments for its executive visit and day one opening to the public.
              o Expect to remove NJ from servicing Tulsa 1n the next week based on La Habra' s receipt status
      • Plans in place to support Store Operations change request to deliver layout order week prior to MSD rather than
          across week 2 of MSD
      • Discussions underway regarding Store Operations ultimate request of a special delivery or special markings for
          SOF product
              o Provided cost to execute and awaiting response from Rich Molchan/Hank Casillas 011 funding
              o DCs can support either request - No actions will be taken until fonding question is resolved
     •   2014 store Path Store list is not finalized
     •   2013 store list currently No sitting at 65 stores) but could change based on permitting or business decisions

  Downtown Delivery
     •   Expanded cart pilot to 23 incremental stores in NYC and Philadelphia is still in progress
     •   Completed field visits to review pilot expansion
            o Visit highlighted opportunities in store selection as a handful of expansion stores have ability to
                receive full pallets through backdoor and would not realize full benefit of pilot
            o Partnered with field management and Store Operations to select replacement stores that require
                on-street front door delivery via hand truck and U-boat
     •   Completed DC cost analysis
            o $112.9]/store/delivery for cart delivery
            o $5,871./store annualized (once a "Week store)
            o $ l 1,743/store annualized (twice a week store)
            o Initial estimate of 30 hours/week store labor savings ($ .18, 720 savings)
            o Suggests an EBIT favorable proposition of $12,849 for once a week delivery stores and $6,977
                annually for twice a week delivery stores
     •   Waiting finalized Store Benefits Statement to complete business case and review with SCO Governance
         Team

                                                                                                                          2



CONFIDENTIAL                                                                                   CVS-MDL T1-000100363

                                                                                                       CVS-MDL T1-000100362
   Case: 1:17-md-02804-DAP Doc #: 2375-13 Filed: 08/14/19 4 of 4. PageID #: 389172




  Suspicious Order Monitoring
     • Completed and approved SOM mathematical algorithm design
             o Controlled substance orders to pass through 14 algorithm tests
     • Received algorithms in SAS code from AGI (consultants)
     • 1T currently building data feeds and technical infrastructure required to support SOM algorithms
     •   Received, reviewed and approved algorithms for listed chemicals
             o AGJ to pass SAS coding and flow charts to IT by mid-week
     •   SOM process will include store controlled substance orders placed with CVS warehouses and outside vendors
         (Cardinal and Mckesson), capture state specific requirements and store orders of DEA listed chemicals (PSE/E,
         acetone, iodine (known Meth prccursorsj)
     •   Current project timeline
             o Finalize requirements -May 31st - Complete
             o IT build and test -September 2ot11
             o UA T and Training - October 25th
             o RoH out - November l 8th


     •


             R                   acted                          .. Privile                                   e




                                                                                                                         3



CONFIDENTIAL                                                                               CVS-MDL T1-000100364

                                                                                                   CVS-MDL T1-000100362
